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Exhibit A — Government Exhibits

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Document Exhibit | Description Author Date Authentication | Authentication Category
Source
Government Motion | 198-2 | Draft closimg communication Aim 1/4/2014 FBI True and correct copy of a document
to Dismiss (198) (Crossfire Razor) or record maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-3 | Opening Electronic Communication DAD Peter Strzok 8/16/2016 | FBI True and correct copy of a document
to Dismiss (198) (Crossfire Razor) or record maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-4 | FD-302 of the interview of Mary 7/17/2017 ‘| FBI True and correct copy of a document
to Dismiss (198) McCord, Acting Assistant Attorney or record maintained by the FBI
General for the National Security pursuant to the applicable records
Division retention policy
Government Motion | 198-5 | FD-302 of the interview of Sally Q. 8/15/2017 _| FBI True and correct copy of a document
to Dismiss (198) Yates, Deputy Attorney General or record maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-6 | Transcript of the Testimony of James | N/A (Court Reporter | 3/2/2017 FBI True and correct copy of a select
to Dismiss (198) Comey, Director, Federal Bureau of Transcription) pages of a document or record
Investigation, before the U.S. House maintained by the FBI pursuant to the
of Representatives Permanent Select applicable records retention policy
Comunittee on Intelligence
Government Motion | 198-7 | Draft FD-302 of the interview of DAD Peter Strzok 2/14/2017__| FBI True and correct copy of a document
to Dismiss (198) Michael T. Flynn s\ iii or record maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-8 | Text messages and electronic DAD , 1/4/2017- | EDMO-USAO | Truly and correctly reflects
to Dismiss (198) messages SSA 2/10/2017 information contained in documents
SSA and records maintained by the FBI,
Lisa pursuant to the applicable records

 

 

 

SIA

 

 

 

 

 

 
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Exhibit A — Government Exhibits

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Document Exhibit | Description Author Date Authentication | Authentication Category
Source
7 | retention policy that were provided to
SA EDMoO!
Government Motion | 198-9 | Emails about the Logan Act Lisa Page (OGC) 1/4/2017 FBI True and correct copies of documents
to Dismiss (198) James Baker (OGC) or records maintained by the FBI
DAD Peter Strzok pursuant to the applicable records
DD Andrew McCabe retention policy
Government Motion | 198-10 | Emails about providing briefings + Strzok 1/21/2017 _| FBI True and correct copies of documents
to Dismiss (198) ani Sc ) or records maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-10 | Email of questions Flynn might ask re | DAD Peter Strzok 1/24/2017 | FBI True and correct copy of a document
to Dismiss (198) interview or record maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-10 | Emails re 1001 warnings P| (OGC) | 1/23/2017 | FBI True and correct copies of a
to Dismiss (198) Lisa Page (OGC) documents or records maintained by
the FBI pursuant to the applicable
records retention policy
Government Motion | 198-11 | Handwritten Notes AD E.W. Priestap 1/24/2017 _| FBI True and correct copy of a document
to Dismiss (198) or record maintained by the FBI
pursuant to the applicable records
retention policy
Government Motion | 198-12 | DD Andrew McCabe write-up DD Andrew McCabe | 1/24/2017 | FBI True and correct copy of a document
to Dismiss (198) documenting 1/24/2017 call with or record maintained by the FBI
Michael T. Flynn pursuant to the applicable records
retention policy
1 The government and the declarant, AUSA Sayler Fleming, agree that there is a single typographical error in this exhibit. A single message (“Will do.”) from DAD Peter

Strzok, sent on 4-Jan-17, is incorrectly identified as having been sent at 2:17 PM; the message was actually sent at 2:18 PM. This message appears on the page bearing Bates No.
23473.
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Exhibit A — Government Exhibits

 

 

 

 

 

 

 

Document Exhibit | Description Author Date Authentication | Authentication Category
Source

Government Motion | 198-13 | Handwritten notes of the interview of | DAD , 1/24/2017 _| FBI True and correct copy of a document

to Dismiss (198) Michael T. Flynn SSA or record maintained by the FBI
pursuant to the applicable records
retention policy

Government Motion | 198-14 | FD-302 of the interview of DAD Peter iim 7/19/2017 | FBI True and correct copy of a document

to Dismiss (198) Strzok or record maintained by the FBI
pursuant to the applicable records
retention policy

Government Supp. 249-1 Report of the Interview of SA William 9/17/2020 | FBI-EDMO True and correct copy of the report of

Motion to Dismiss
(249)

 

 

Barnett

 

 

 

 

 

 

that interview.

 

 
